        Case 1:19-cv-03599-GMH Document 19-1 Filed 08/17/21 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



 MASIH ALINEJAD;

               Plaintiff,

       v.                                         Civil Action No: 1:19-cv-03599-EGS

 THE ISLAMIC REPUBLIC OF IRAN et al..;

               Defendants.


                                       PROPOSED ORDER

       For the reasons stated in the accompanying Memorandum Opinion, it is hereby

ORDERED that judgment is entered in favor of Plaintiff and against Defendants for compensatory

damages in the amount of $39,220,000 USD for loss of solatium and pain and suffering. It is

FURTHER ORDERED that in addition to the above compensatory damages, Plaintiff is entitled

to punitive damages in the amount of $150,000,000. This is a final, appealable order. The Clerk of

the Court is directed to close the case.

       SO ORDERED.

                                                            ________________________
                                                            Emmet G. Sullivan
                                                            United States District Judge

Date: ___________________
